                                               Certificate Number: 06975-WAW-CC-034616597


                                                              06975-WAW-CC-034616597




                    CERTIFICATE OF COUNSELING

I CERTIFY that on June 30, 2020, at 11:24 o'clock AM PDT, Nicholas Barnard
received from American Financial Solutions of North Seattle Community College
Foundation, an agency approved pursuant to 11 U.S.C. 111 to provide credit
counseling in the Western District of Washington, an individual [or group]
briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet and telephone.




Date:   June 30, 2020                          By:      /s/Jami Jackson


                                               Name: Jami Jackson


                                               Title:   Certified Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).



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